Case 4:16-cv-03155 Document 18-20 Filed on 12/16/16 in TXSD Page 1 of 20




                  Exhibit 21




                  Exhibit 21
Case 4:16-cv-03155 Document 18-20 Filed on 12/16/16 in TXSD Page 2 of 20
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Case 4:16-cv-03155 Document 18-20 Filed on 12/16/16 in TXSD Page 4 of 20
Case 4:16-cv-03155 Document 18-20 Filed on 12/16/16 in TXSD Page 5 of 20
Case 4:16-cv-03155 Document 18-20 Filed on 12/16/16 in TXSD Page 6 of 20




                  Exhibit 22




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                   Exhibit 23




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                                                    Cancer moonshot countdown
                                                    Douglas Lowy, Dinah Singer, Ron DePinho, Gregory C Simon & Patrick Soon-Shiong
                                                    Nature Biotechnology asks representatives from three different cancer ‘moonshot’ initiatives to outline their visions.


                                                    R    eaching for the moon is not likely to suc-
                                                         ceed in a single attempt. That is why the
                                                    United States has witnessed the launch of sev-
                                                    eral different ‘moonshot’ initiatives aiming to
                                                    galvanize efforts in cancer prevention, diagnosis
                                                    and treatment. In January, the US government
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                                                    announced the National Cancer Moonshot
                                                    Initiative. According to the project’s leader,
                                                    Vice President Joe Biden, whose son Beau’s
                                                    death from brain cancer last year prompted
                                                    him to champion the effort, it “is poised to be a
                                                    critical part of our nation’s anticancer strategy.”
                                                    The same month, the Cancer MoonShot 2020
                                                    Program was officially launched by biotech bil-
                                                    lionaire Patrick Soon-Shiong to bring together




                                                                                                                                                                                                                       ASSOCIATED PRESS
                                                    stakeholders from industry, academia, com-
                                                    munity oncologists and government to pro-
                                                    duce vaccine-based immunotherapies against
                                                    cancer. These moonshots joined Texas cancer
                                                    center MD Anderson’s ambitious Moon Shots
                                                                                                          US vice president Biden has been on a fact-finding tour of laboratories and institutions around the US
                                                    Program, which was launched in 2012. Nature           as he seeks to lead the National Cancer Moonshot. Vice President Joe Biden speaks with Nobel laureate
                                                    Biotechnology approached representatives              Paul Modrich, left, as Vickers Burdett, wife of Modrich, middle, and A. Eugene Washington, Chancellor
                                                    from each of the different initiatives to under-      for Health Affairs at Duke University, right, listen in a laboratory at Duke University School of Medicine
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                                                    stand the different aims and strategies being         in Durham, North Carolina, on Wednesday, February 10, 2016. Vice President Biden visited Duke to
                                                    employed.                                             speak about his Cancer Moonshot initiative. (AP Photo/Ben McKeown)


                                                    What is the specific aim of your                      policy experts, educators and staff to mount             implementation platforms, which include
                                                    moonshot in cancer?                                   comprehensive, goal-oriented programs focused            seasoned drug development professionals
                                                                                                          on delivering marked improvements in preven-             from industry and cancer control experts with
                                                    Ron DePinho: The aim of the MD Anderson               tion, early detection and treatment options in 12        government and policy experience. Combining
                                                    Moon Shots Program is to more rapidly and sys-        major cancers: acute myeloid leukemia, myelo-            such expertise with that of our academic schol-
                                                    tematically convert existing and emerging scien-      dysplastic syndrome, chronic lymphocytic leu-            ars is probably the most unique aspect of our
                                                    tific knowledge into true clinical advancements       kemia, melanoma, lung cancer, prostate cancer,           initiative. Historically, academia’s strength
                                                    that will alleviate pain, suffering and death from    triple-negative breast cancer, high-grade serous         has been its discovery of new knowledge,
                                                    cancer. Our program brings together large, mul-                                  ovarian cancers, B-cell       but it has been less well structured to system-
                                                    tidisciplinary teams of researchers, clinicians,                                 lymphoma, colorec-            atically convert such knowledge into practi-
                                                                                                                                     tal cancer, glioblas-         cal endpoints such as new drugs or legislative
                                                    Douglas Lowy and Dinah Singer are in the                                         t om a , h i g h - r i s k    policy. Effective translation is not only about
                                                    Division of Cancer Biology, National Cancer                                      multiple myeloma,             discovery but also application of knowledge.
                                                    Institute, Bethesda, Maryland, USA. Ron                                          HPV [human                    Translational research is also an inconsistently
                                                    DePinho is in the Department of Cancer Biology,                                  p api l l om av i r u s ] -   funded research phase that exists between
                                                    University of Texas MD Anderson Cancer                                           related cancers and           scientific discovery (largely funded by federal
                                                    Center, Houston, Texas, USA. Gregory C.                                          pancreatic cancer.            grants) and late-stage clinical trials (financed
                                                    Simon is at the White House Cancer Task Force,                                      These moon shots           by the private sector) where ideas often die
                                                    Washington, DC. Patrick Soon-Shiong is at                                        are supported by              before they have a chance to be thoroughly
                                                    NantWorks LLC, Culver City, California, USA.          Ron DePinho                execution-oriented            tested. Improving the efficiency of preclinical


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                                                    research and early clinical trials and cultivat-    What are the milestones for your                     December 31 outlining the roadmap for build-
                                                    ing the exchange of knowledge back and forth        projects?                                            ing upon this foundation.
                                                    between lab and clinic are essential to success-
                                                    fully traversing this valley of death.              DePinho: Our overarching goal is to more             Soon-Shiong: Our first milestone is to test
                                                                                                        rapidly and dramatically reduce mortality and        100,000 patients using the ‘GPS Cancer’
                                                                             Greg Simon: The            suffering in cancer, aiming for every patient        test, which was launched by my company
                                                                             goal of the Cancer         to contribute to, and potentially benefit from,      NantHealth (Culver City, California) in
                                                                             Moonshot is to make        our efforts. Each moon shot has individual           January. GPS Cancer is the first CLIA-
                                                                             a decade of progress       goal-oriented milestones that are evaluated          certified, comprehensive multiomic-based
                                                                             in preventing, diag-       on a semiannual basis to discuss progress and        test that integrates sequencing of the whole
                                                                             nosing and treating        explore additional points of collaboration. In       genome, transcriptomics and targeted pro-
                                                                             cancer in five years,      the long term, collaboration among moon              teomics with predictive analytics, resulting
                                                                             ultimately striving        shots, platforms, basic scientists and clinicians    in a comprehensive molecular profile of a
                                                                             to end cancer as we        will increase understanding of the molecular         patient’s cancer, which can then inform per-
                                                    Greg Simon               know it. We are tak-       details of cancer, drive new treatments and          sonalized treatment options. Coverage for
                                                                             ing a critical look at     accelerate cures.                                    the GPS Cancer test has been made available
                                                    the entire system of scientific research and           There have already been achievements.             to eligible members of Independence Blue
                                                    medical care and figuring out ways for realign-     Just in immuno-oncology alone, we have               Cross commercial plans since the beginning
                                                    ing the incentives of this system to promote        launched about 125 clinical trials. By late          of March.
                                                    breakthrough progress in preventing and treat-      2015, our effort had also established a secure          Next, 20,000 of these test patients will be
                                                    ing cancer; creating a new paradigm of gener-       database containing clinical information for         matched up and enrolled with an appropri-
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                                                    ating, sharing and integrating data to enhance      more than 230,000 patients treated at MD             ate phase 2 immunotherapy clinical trials in
                                                    patient care; and accelerating the process of       Anderson since 2012, along with full inte-           over 20 tumor types, including breast, lung,
                                                    bringing new prevention strategies, diagnos-        gration of genomic, proteomic and immune             prostate, ovarian, brain, head and neck, and
                                                    tics and therapies to patients in communities       profiling data from those patients involved in       multiple myeloma. Overall, more than 60
                                                    across the world.                                   moon shot research studies.                          novel immunotherapy and targeted-therapy
                                                                                                           There is a lot of discipline in the way           agents have been made available by phar-
                                                    Patrick Soon-Shiong: Cancer MoonShot                we structured the program, a high level of           maceutical and biotech partners of 2020 for
                                                    2020 has several interrelated aims: first, to       accountability and a strong focus on mile-           these tests. The governing master trial proto-
                                                                                gain insight into       stones that in the beginning are interim for         col, called the QUILT Program (Quantitative
                                                                                the heterogeneous       impact on the cancer problem. To give a              Integrative Lifelong Trial), is designed to har-
                                                                                nature of the can-      specific example: in our cancer control plat-        ness and orchestrate all the elements of the
                                                                                cer cell through the    form, where we focus on things like policy           immune system (including dendritic cell,
                                                                                most comprehensive      and K-12 education, one milestone we had             T-cell and natural killer (NK) cell therapies)
                                                                                molecular analysis,     was that in a given year, we were going to           by testing novel combinations of vaccines,
                                                                                from the genome to      work with many groups to reach stakehold-            cell-based immunotherapy, metronomic che-
                                                                                the transcriptome       ers and legislatures across five different states,   motherapy, low-dose radiotherapy and immu-
                                                                                to the proteome and     to try to educate the public and policy makers       nomodulators and checkpoint inhibitors
npg




                                                                                immunome; second,       about the impact of laws that prevent children       in molecular-typed patients, with the goal of
                                                    Patrick Soon-Shiong         with this insight, to   under the age of 18 from accessing tanning           achieving durable, long-lasting remission for
                                                                                overcome cancer’s       beds. This effort allowed the MD Anderson            patients with cancer.
                                                    ability to avoid the immune system; third, to       Melanoma Moon Shot team and the cancer                  A final milestone of our MoonShot is that
                                                    use combination immunotherapy to activate           control platform to provide Texas lawmak-            the findings from QUILT will inform phase 3
                                                    the entire immune biological armamentarium,         ers with science-based data that resulted in         trials that ultimately result in the creation of
                                                    from innate to adaptive immunity, against           a state-wide ban on minors’ use of tanning           an effective vaccine-based immunotherapy to
                                                    the cancer; fourth, to deliver all this in near     beds. Texas was the fourth state to adopt this       combat cancer by 2020.
                                                    real time for cancer patient care by building       legislation in 2013, and, today, 14 states have
                                                    a cloud-based, interoperable clinical learning      passed the same restriction.                         What specific approaches and
                                                    system and a global precision-medicine net-                                                              technologies are you adopting?
                                                    work of community oncologists and pediatri-         Simon: President Obama established the
                                                    cians; and finally, to accelerate the development   Cancer Moonshot Task Force to coordinate             DePinho: Our moon shots are supported
                                                    of molecular imaging and diagnostic tests com-      expertise across 20 agencies, sub-agencies and       by ten ‘implementation’ platforms focused
                                                    bining whole-genome and RNA sequencing              White House offices, as well as to serve as a        on driving actionable knowledge into clini-
                                                    with targeted proteomics as well as combina-        catalyst for stimulating further private sector      cal endpoints by assembling leading-edge
                                                    tion immunotherapy and drug development,            advances. This group has been hard at work,          expertise and technology infrastructure in
                                                    all within a decade to five years.                  with new programs, policies and initiatives          four major areas: data generation (via a can-
                                                       Ultimately, the aim is to win the war on can-    being developed and implemented at an accel-         cer genomics laboratory (CGL) platform,
                                                    cer—to get to a point in the very near future       erated pace. Milestones will include the launch      an immune checkpoint therapy group and
                                                    when we are managing cancer the same way            of a series of efforts focused on the spectrum       a translational center (CCGT) for discover-
                                                    we might manage any chronic disease, such as        of cancer research and care throughout this          ing and developing targeted therapeutics);
                                                    diabetes or asthma.                                 year and a report delivered to the President by      product development (via expertise in the


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                                                    development of small molecules (IACS), bio-        patient’s tumor and immune status via diag-        cancers and conducting large longitudinal
                                                    logics (ORBIT) or adoptive cell therapies);        nostic testing. This will be synergized with all   studies to help determine cancer risk factors
                                                    data integration analysis (via advanced ana-       the therapeutic tools at our disposal—from         and enhance treatment.
                                                    lytic platforms for clinical decision-making       standard chemotherapy, to radiotherapy, to
                                                    and an institutional longitudinal patient dis-     targeted therapy, to monoclonal antibody           Soon-Shiong: Thus far, large biopharmaceuti-
                                                    ease registry); and finally, a cancer prevention   therapy, to cell-based immune therapy, to          cal companies have taken the lead to support
                                                    and control effort.                                chemokines and cytokine therapy, to approved       the efforts. Specifically, Amgen (Thousand
                                                       As I mentioned, we now have profiles for        drugs and to drugs in development.                 Oaks, California), Celgene (Summit, New
                                                    over 230,000 MD Anderson patients that                With these tools in place, we can establish     Jersey) and my ecosystem of companies form-
                                                    combine clinical information with tumor            a real-world, rapid clinical learning system to    ing NantWorks have committed to this effort.
                                                    ‘omic’ and immune monitoring data. Over            understand how we could optimize this maze         NantWorks will shortly announce the funds
                                                    time, additional research data will be added.      of combination therapy. This will require          that it has raised in support of the goals of
                                                    This ‘learning system’ will provide unprec-        health information technology and next-gen-        Cancer MoonShot 2020, and it is expected
                                                    edented, controlled access for MD Anderson         eration interoperable software. NantHealth’s       that the amount will exceed a billion dollars.
                                                    researchers to generate hypotheses and make        clinical-decision support software provides        In addition, Independence Blue Cross and self-
                                                    connections between tumor characteristics,         evidence-based treatment support, which            insured payers, such as Bank of America (New
                                                    as detailed from molecular analysis, test          may include QUILT trial identification based       York), have committed to fund the GPS screen-
                                                    results, imaging and other sources, and the        on genomic and proteomic sequencing results.       ing test needed.
                                                    efficacy of treatment. Our big data warehouse      The company’s provider portal technologies            Finally, the NantHealth Foundation and
                                                    is designed ultimately to accept and share data    will also allow oncologists and other clini-       the Chan Soon-Shiong Institute of Molecular
                                                    from external sources as well.                     cians to check patient eligibility for sequenc-    Medicine at Oxford University, UK, a 501c3
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                                                                                                       ing, request health plan authorization, and        medical research organization, has been formed
                                                    Simon: Under the Cancer Moonshot, we are           monitor and view test results, while helping       and will commit a billion dollars to support
                                                    working to apply 21st century technology to        to coordinate the patient’s care across the care   cancer centers around the nation and com-
                                                    transform knowledge and data into real solu-       continuum.                                         munity oncologists to make available the treat-
                                                    tions for patients. For example, we are working                                                       ments and trials of the initiative.
                                                    to apply the nation’s most powerful computa-       How are these efforts being funded?                   The funding needed to win the war on can-
                                                    tional capabilities to analyze vast and complex                                                       cer should be considered in the context of that
                                                    datasets to make sense about which treatments      DePinho: We have mobilized more than $600          needed to place a man on the moon or the
                                                    work for which patients. We are also focused       million over the past couple of years for these    successful NASA Space shuttle program with
                                                    on bringing together the numerous stake-           projects, with nearly $350 million in private      its multiple launches. To sufficiently fund this
                                                    holders to incentivize new ways of stimulating     philanthropic commitments. These philan-           initiative, combined support is needed from
                                                    action and fostering collaborations, which will    thropic funds are complemented by several          philanthropy, the private sector, government
                                                    be key to the success of this effort.              hundred million dollars raised through grants      agencies and even NGOs [nongovernmental
                                                       Investments from the National Cancer            from the US National Institutes of Health          organizations].
                                                    Moonshot Initiative will support cutting-          (Bethesda, MD) and the Cancer Prevention
                                                    edge research opportunities. These include         & Research Institute of Texas and contracts as     Who are the main stakeholders?
                                                    cancer vaccine development, technologies           well as by returns from IP [intellectual prop-
                                                                                                                                                          DePinho: The Moon Shots Program has
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                                                    for the development of diagnostics for early       erty], which are plowed back into our mission
                                                    cancer detection, immunotherapies and com-         to end cancer. MD Anderson ranks number one        brought together nearly 2,000 faculty and staff
                                                    bination therapies for an expanded range of        in the nation in IP-related commercialization      out of 21,000 employees at MD Anderson. It’s
                                                    cancers, genomic profiling of primary tumors       revenues as well as corporate alliance revenue,    a significant effort involving basic scientists,
                                                    and their surrounding cells, technologies for      outpacing all universities in the country.         oncologists, surgeons, radiologists, physi-
                                                    facilitating data sharing, and programs for tar-                                                      cian–scientists, experts in data management
                                                    geting pediatric cancers. An Oncology Center       Simon: The administration is launching             and analysis, cancer prevention and control,
                                                    of Excellence [will run] under the auspices of     the National Cancer Moonshot with $1 bil-          and other disciplines in 12 different cancers.
                                                    the US Food and Drug Administration (FDA)          lion in funding. Information can be found             Using immunotherapy as an example,
                                                    to leverage the combined the combined skills       at https://www.whitehouse.gov/the-press-           we’ve signed research collaborations with
                                                    of regulatory scientists and reviewers with        office/2016/02/01/fact-sheet-investing-            a dozen companies, including multina-
                                                    expertise in drugs, biologic and devices.          national-cancer-moonshot. Funding will             tional pharma companies like Pfizer (New
                                                    Finally, under the umbrella of the initiative,     include $195 million in new cancer activities      York), Bristol-Myers Squibb (Princeton,
                                                    a Vice President’s Exceptional Opportunities       at the National Institutes of Health (NIH)         NJ), GlaxoSmithKline (London), Johnson
                                                    in Cancer Research Fund is planned to pro-         in fiscal year 2016. In fiscal year 2017, the      & Johnson (New Brunswick, NJ) and
                                                    vide financing to scientists, cancer physicians,   Administration’s budget will propose to            MedImmune (part of London-based
                                                    philanthropic organizations, and pharma and        continue this initiative with $755 million         AstraZeneca) and biotech companies like
                                                    biotech companies working together on major        in mandatory funds for new cancer-related          Intrexon (Germantown, MD), Ziopharm
                                                    new innovations in the understanding of, and       research activities at both NIH and the FDA.       (Boston), Kymab (Oxford, UK), Astellas
                                                    treatment for, cancer.                             The Departments of Defense and the Veterans        Pharma (Tokyo), CytomX Therapeutics (S.
                                                                                                       Affairs are also increasing their investments      San Francisco, CA), Jiangsu Hengrui Medicine
                                                    Soon-Shiong: As I mentioned, there will be         in cancer research, including the funding of       (Shanghai) and AbbVie Biotherapeutics
                                                    detailed molecular characterization of the         Centers of Excellence focused on specific          (Redwood City, CA)—not only to conduct


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                                                    clinical trials for their experimental drugs, but    with helping the Panel develop two to three       much more ahead of us in this golden era of
                                                    also to bring our scientists and theirs together     recommendations for major research oppor-         cancer research. I had the privilege of speak-
                                                    to compare notes on research and design              tunities that could lead to significant break-    ing several times with Vice President Biden
                                                    preclinical studies and new clinical trials to       throughs.                                         over the past few years about our program
                                                    improve treatment. As always, we collaborate           Community input will be critical to success     and how we organized our efforts. The newly
                                                    in clinical trials with other cancer centers test-   and members of the scientific community and       announced national moon shot, under the
                                                    ing new immunotherapies, with several thou-          general public are encouraged to submit ideas     leadership of the Vice President, will only
                                                    sand patients involved in more than 165 such         for advancing progress against cancer in one or   further stimulate collaboration and achieve-
                                                    trials now open at MD Anderson.                      more areas on the Cancer Research Ideas plat-     ment in our nation’s fight to end cancer. We
                                                       In cancer prevention and control, we work         form here: https://cancerresearchideas.cancer.    also are pleased to have two of our best cancer
                                                    closely with advocacy groups, like the CATCH         gov/a/pages/about.                                scholars—Jim Allison and Al Yung—on the
                                                    Foundation and Tobacco-Free Kids, and our                                                              Blue Ribbon Panel to advise the NCI in its
                                                    governmental relations colleagues to educate         Soon-Shiong: We have nearly 150 leaders           work with Vice President Biden. We all plan
                                                    legislators. In addition, we have extensive          from a diverse community across pharma,           to work together for our patients.
                                                    interactions with governmental agencies such         biotech, technology, academic and com-
                                                    as the CDC [US Centers for Disease Control           munity oncology, the US National Cancer           Simon: The purpose of the Cancer Moonshot
                                                    and Prevention] (Atlanta) and have engaged in        Institute (NCI) and not-for-profit thought        is to inspire the people all around the world
                                                    strategic public health discussions with other       leaders.                                          to rise to the charge from the President. Any
                                                    governments, including China, Portugal and              Industry partners include companies            effort focused on accelerating preventing,
                                                    Mexico.                                              from the pharmaceutical and biotech sector        diagnosing and treating this terrible disease
                                                                                                         and from communications technology. For           is a win.
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                                                    Simon: The Vice President is issuing the call        the former, participants include Celgene,
                                                    far and wide, recognizing that innovative            Amgen, NantWorks, NantKwest (San Diego),          Douglas Lowy: The Vice President’s enthu-
                                                    solutions to tough problems often arise from         Etubics (Seattle), Altor Bioscience (Miramar,                             siasm is welcomed
                                                    unlikely sources or the combination of seem-         Florida) and Precision Biologics (Westlake                                by the community of
                                                    ingly disparate expertise. Thus, the Cancer          Village, California). In communications tech-                             researchers, health
                                                    Moonshot aims to break down conventional             nology, we have brought on board such lead-                               professionals and
                                                    silos and bring together patient advocates,          ers as Allscripts (Chicago) CEO, Paul Black                               patients who share
                                                    health care providers, biomedical researchers,       and Blackberry (Waterloo, Ontario, Canada)                                his passion and belief
                                                    technological innovators, industry leaders and       CEO John Chen.                                                            that great things are
                                                    more to serve the ultimate Cancer Moonshot              Major participating academic cancer cen-                               possible by accelerat-
                                                    stakeholder: the patient.                            ters include Johns Hopkins (Baltimore), Tufts                             ing cancer research
                                                                                                         University (Boston) and Columbia University                               with      leadership
                                                                                                                                                           Douglas Lowy
                                                    Dinah Singer: Readers can find members of            (New York); community hospital and ambu-                                  and resources. We
                                                    the Task Force and of the Blue Ribbon Panel          latory settings are also contributing under                               are committed to
                                                    at their respective websites (https://www.           the Precision Medicine Global Network,            breaking down silos and stimulating the
                                                    whitehouse.gov/the-press-office/2016/01/28/          which includes nearly 1,000 oncologists in        groundbreaking work already underway. To
                                                    memorandum-white-house-cancer-moon-                  the United States.                                be successful, we must hear a broad range
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                                                    shot-task-force and http://www.cancer.gov/              We also have as partners leading insurance     of perspectives to take full advantage of the
                                                    research/key-initiatives/moonshot-cancer-            companies, such as Independence Blue Cross        exceptional current opportunities in cancer
                                                    initiative/blue-ribbon-panel). The 28-mem-           CEO Daniel Hilferty and Bank of America’s         research.
                                                    ber Blue Ribbon Panel represents a spectrum          (New York) Head of US Health and Wellness
                                                    of scientific areas, including biology, immu-        Benefits Jim Huffman, who have committed to       Soon-Shiong: No, not concerned at all.
                                                    nology, genomics, diagnostics, bioinformat-          support payment for our diagnostic tests. The     These moonshots are mutually reinforcing
                                                    ics, and cancer prevention and treatment.            NCI also is playing a direct role. The US-wide    and ultimately share the same goals—to win
                                                    Scientific members also include investigators        master protocol will be designed under            the war on cancer. The Cancer MoonShot
                                                    with expertise in clinical trials and cancer         CRADA agreements between companies and            2020 program has been my vision for over a
                                                    health disparities. Importantly, the members         the NCI, with scientific guidance provided by     decade, culminating in its ‘liftoff ’ in January
                                                                              of cancer advocacy         the NCI’s branch chiefs of Tumor Immunology       2016. Our initiative has a laser focus on
                                                                              groups and pharma-         and Biology Laboratory and Medical Oncology       patients with active disease and to accelerate
                                                                              ceutical and biotech-      using the recently published US Food and Drug     combination immunotherapy and big data
                                                                              nology companies           Administration guidance on ‘Co-development        integration in near real time. It is a highly
                                                                              will be represented        of two or more new investigational drugs for      focused effort that specifically looks at the
                                                                              on the panel and its       use in combination’.                              potential of combination immunotherapy as
                                                                              working groups. The                                                          the next standard of care for cancer patients,
                                                                              Panel has announced        Are you concerned about confusion on              by leveraging insights from DNA and RNA
                                                                              seven       working        the different cancer moonshots?                   sequencing with quantitative proteomics. It is
                                                                              groups, involving 10                                                         led by the private sector and brings together
                                                                              to 12 leading experts      DePinho: In the first three years of our Moon     pharma, biotech, payers, academia and com-
                                                                              per group. The work-       Shots Program, we’ve had early successes and      munity oncologists for the aspirational goal
                                                    Dinah Singer              ing groups are tasked      accomplished great strides, and there’s so        of developing a cancer vaccine by 2020.


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